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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


DARRIN MCCRAY,

       Plaintiff,

vs.                                              Case No. 4:23cv400-AW-MAF

FLORIDA STATE BOARD OF,
ADMINISTRATION, et al.,

     Defendants.
__________________________/


                                   ORDER

       Plaintiff, proceeding pro se, sought to initiate a case in this Court on

September 11, 2023, by submitting a civil rights complaint, ECF No. 1.

However, Plaintiff did not pay the filing fee for this case or file an in forma

pauperis motion. An Order was entered advising Plaintiff that if he wanted

to proceed, he must do one or the other. ECF No. 3. Furthermore, Plaintiff

was also required to submit an amended complaint because the original

complaint, ECF No. 1, was insufficient as filed, and as explained in that

Order. ECF No. 3. Plaintiff has now filed a notice of voluntary dismissal

pursuant to Rule 41(a). ECF No. 4.
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      Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides that an action

may be dismissed without an order of the court by filing a notice of

dismissal at any time before the adverse party serves his answer, or files a

motion for summary judgment. Plaintiff’s notice of voluntary dismissal is

appropriately accepted under Rule 41(a), even though Plaintiff used an

electronic signature instead of his personal, handwritten signature.

Although Plaintiff’s notice is effective without an order, see Fed. R. Civ. P.

41(a)(1)(A), Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir.

2012), this Order confirms that the case has been dismissed without

prejudice. The Clerk must close the file.

      Accordingly, it is ORDERED:

      1. Plaintiff’s notice of voluntary dismissal, ECF No. 4, filed pursuant

to Rule 41(a)(1)(A)(i), is ACCEPTED.

      2. The Clerk of Court shall administratively close this case.

      DONE AND ORDERED on November 9, 2023.



                                   S/ Martin A. Fitzpatrick
                                   MARTIN A. FITZPATRICK
                                   UNITED STATES MAGISTRATE JUDGE



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